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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

LA PLAYITA CICERO, INC., d/b/a
SERENATA RESTAURANT & BAR, and
GERARDO MEZA,

              Plaintiffs,

       v.                                            Case No. 11 CV 01702

TOWN OF CICERO, et al.,                              Honorable John Z. Lee

              Defendants.

      PLAINTIFFS’ MOTION TO COMPEL CERTAIN INFORMATION FROM
                   DEFENDANTS’ EXPERT, DR. JAFFE, OR
                  OTHERWISE BAR HIM FROM TESTIFYING

       Plaintiffs LA PLAYITA CICERO, INC., d/b/a SERENATA RESTAURANT &

BAR, and GERARDO MEZA (collectively “Plaintiffs”), move this Court for an order

compelling Defendants’ Expert, Dr. Jaffe, to produce certain information or otherwise

bar his testimony at trial, and in support, Plaintiffs state as follows:

   1. Plaintiffs have had to file no less than three (3) separate motions to obtain

compliance with expert discovery from Defendants’ Expert Dr. Jaffe, including on

January 18, 2012 (Docket #116), July 23, 2012 (Docket #215), and the instant motion. The

history of these motions are set forth in Docket ## 116 and 215 and incorporated as

though fully set forth herein.
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     2. Defendants refuse to produce the following information that is required under

Fed. R. Civ. P. 26 and necessary for Plaintiffs’ rebuttal expert to complete the rebuttal

report:

          a. Dr. Jaffe’s notes, which he testified in his deposition that he took. (Ex. 1, Jaffe

             Dep. 26:24‐27:2 (Q. Did you take notes of your interview with Mr. Meza? A.

             Yes.”).) Defendants’ counsel later represented that Dr. Jaffe did not take any

             notes, and if this is the case (which is inconsistent with his deposition

             testimony), Plaintiffs’ counsel requested that Dr. Jaffe provide this

             verification under oath in a sworn Affidavit (since his deposition was taken

             under oath). (See Ex. 2, Kurtz E‐mail.)

          b. Full citations to the references in his report, as Dr. Jaffe only has: “Friedman

             (2001),” “Morey (2003),” “Graham (2006).” It is impossible with this limited

             notation to identify what reference, book, or article Dr. Jaffe is referring to.

             Therefore, he should be required to produce the full citation, or otherwise be

             barred from testifying on these matters in his report.1/

          c. A copy of the Curriculum Vitae of Dr. Jaffe’s assistant who participated in the

             interviewing of Plaintiff Gerry Meza and actually asked questions of him




1/  Fed. R. Civ. P. 26(a)(2)(ii) requires Defendants to disclose: “the facts or data considered by
the witness in forming them.” This would include full citations to the data and or treatise or
article referenced.


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            outside of Dr. Jaffe’s presence.2/ It is necessary to identify whether or not she

            is qualified to participate in a psychological assessment and without her

            name and credentials this information cannot be determined. Moreover,

            Plaintiff may be entitled to call her as a witness in this case to impeach Dr.

            Jaffe.

     3. Most of these issues were raised with the Court at the last Court status on

November 20, 2012. Defendants’ counsel represented that she would have the

information and a response by seven (7) days. The Court did not put this in the Order

(Docket #238) at Defendants’ counsel’s request and because the Court took Defendants’

counsel at her word.

     4. Defendants’ response was generally that the information would not be provided

or there was no information. (See Ex. 3, Grandfield Letter.)

     5. Plaintiffs’ counsel has attempted to resolve these issues before filing the instant

motion; however, Defendants’ counsel refuses to produce the citations or the

Curriculum Vitae, and initially refused to produce the Affidavit until she was advised

that Dr. Jaffe testified in his deposition that he took notes, to which Defendants’ counsel

said she would look into it. (See Ex. 2, Kurtz Email.) As of the filing of this motion,

Defendants’ counsel has not agreed to provide the affidavit.




2/  Fed. R. Civ. P. 26(a)(2)(iv) also requires Defendants disclose: “the witness’s qualifications,
including a list of all publications authored in the previous 10 years.”


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   6. In the event Dr. Jaffe does not produce the information in seven (7) days and in

light of Dr. Jaffe’s non‐compliance with discovery requiring Plaintiffs to file multiple

motions, Plaintiffs’ subpoenas, and this Court’s orders, Plaintiffs request that Dr. Jaffe

be barred from testifying. See, e.g., Anglin v. Sears, Roebuck and Co., 139 F. Supp.2d 914,

917 (N.D. Ill. 2001) (Expert barred after report produced six days before the expert

discovery cut‐off and after seven attempts to schedule the deposition but none was

taken despite six‐week discovery extension); see also Hill v. Porter Memʹl Hosp., 90 F.3d

220, 224 (7th Cir. 1996) (barring expert testimony when the disclosure of the experts was

outside of the deadline set by the court).

   WHEREFORE, for the above stated reasons, Plaintiffs respectfully request that the

Court enter the following order:

   A. Requiring Dr. Jaffe to produce the following information within seven (7) days of

       this Court’s order: (1) his notes or an Affidavit stating under oath and penalty of

       perjury that he did not take any notes, or if he took notes and destroyed them,

       that he so state as well, (2) the full text of the Citations referenced in his report,

       including the name of the source, book, or article and page number, and (3) a

       copy of his assistant’s Curriculum Vitae;

   B. Barring Dr. Jaffe from testifying in the event he does not comply with this

       Court’s order; and

   C. Granting Plaintiffs such other relief that is just and equitable.



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                                            Respectfully submitted,

                                            PLAINTIFFS LA PLAYITA CICERO,
                                            INC., d/b/a SERENATA RESTAURANT
                                            AND BAR and GERARDO MEZA



                                            s/Dana L. Kurtz

                                            Attorney for Plaintiffs

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